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                                  SCRAM GPS Program Participant Agreement
Participant Name:                       _________________________
Participant Address:                    _________________________
Agency:                                 _________________________
Agent Name:                             _________________________
Date Placed on Program:                 _________________________

 During a recent court hearing, I was ordered by a Judge/Magistrate to comply with additional conditions of release or probation which includes
 SCRAM GPS monitoring. I was released from custody on the condition that I comply with that court order and the conditions of the SCRAM
 GPS monitoring program, as set forth below:

 1.   I was given a curfew as part of my court ordered release. I understand that I must:                                        Initial Here
      a.   Live at the address listed above unless a change of address is authorized by the courts or supervising
           agency.                                                                                                              __________
      b.   Remain inside my residence during the curfew hours. Curfew Hours__________ until__________.
      c.   Appear before the Probation Officer or Pre-trial Services Agency when requested to verify compliance with
           the curfew.
      d.   If the courts approve my curfew hours being adjusted for work purposes, I agree to provide my officer or
           agent with my weekly work schedule. I understand that when I am not working, my original curfew hours
           remain in effect.

 2.   I was given a territorial restriction as part of my court order. I understand and acknowledge that I:                      Initial Here
      a.   Am familiar with the boundaries of the area that I am prohibited from entering.
                                                                                                                                __________
      b.   Am not to physically enter into the area designated as a territorial restriction in the court order.

 3.   I acknowledge that I have received the SCRAM GPS monitoring device and charging equipment issued by                        Initial Here
      ______________________________________________________.
      Service Provider or Agency                                                                                                __________


 4.   I acknowledge receipt of:                                                                                                  Initial Here
           SCRAM GPS Device Serial Number _______________
                                                                                                                                __________
           1 Charger
           1 Power Cord

 5.   I understand that I may be required to pay the daily cost of my SCRAM GPS monitoring. If so ordered, I agree to pay the following cost
      per day on a schedule set forth in a separate payment agreement and will submit payments as directed by my officer or agent:
      Daily Monitoring Cost                                             $__________
 6.   I agree to keep the device charged as directed, and to immediately comply with any requests to charge the device. I agree to charge the
      device daily until the device displays a solid green light. I understand that I must not charge my monitor while sleeping.
 7.   I understand that I will be held responsible for damage to the SCRAM GPS Bracelet. I am aware that any efforts to disable the device will
      be reported to my Probation Officer or Pre‐trial Services Agent as an attempt to defeat the device in violation of this agreement. I also
      understand that if I do not return the equipment in good working condition, I will be charged for the repair or replacement of the device as
      follows:
      Full Replacement Cost of the SCRAM GPS Bracelet                   $__________
      Charger                                                           $__________
 8.   I understand that if I or someone else intentionally destroys or damages the device or charger, I must immediately notify my officer or
      agent. I may be held civilly and criminally responsible for any damaged equipment. I may be held responsible for the full replacement
      cost of the device or charger.


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 9.   I will not in any way remove, tamper with, circumvent, or damage the SCRAM GPS device.
 10. I understand that my location is being tracked 24 hours per day and that my tracking data can be used against me if I fail to comply with
     the conditions of release or if I commit a crime while being monitored.
 11. It is my responsibility to immediately report to my officer or agent with the device and charger as soon as my charges are resolved. I
     understand that I am being tracked until the monitor is removed.
 12. I understand that only a Judge can change the conditions of release—including curfew hours, the location of the curfew, or any territorial
     restriction(s). If I need to change my address, I will contact my officer or agent prior to moving.

        Initial Here          Health and Safety Notice:
                              WARNING. Improper installation of this SCRAM device may cause injury. Refer to Health and Safety Notice at
                              end of document and follow instructions to avoid injury.
       __________
                              I verify that I read the Health and Safety Notice at the end of this document and my officer or agent has given me
                              the opportunity to ask questions. I agree to consult a doctor if I have any pre-existing medical conditions related
                              to my legs, ankles, or feet. Such conditions include, but are not limited to circulation problems, neuropathy, deep-
                              vein thrombosis, leg ulcers, tendonitis, diabetes, pregnancy, a history of swelling, or nickel or metal allergies. If
                              my doctor believes that a pre-existing condition prevents me from wearing the bracelet, I will immediately notify
                              my agent.

        Initial Here          In the event of a severe side effect such as sores, open wounds, bruising, or severe irritation or redness, I agree
                              to immediately contact my agent for further instructions and seek medical attention if needed. In the event of a
                              medical emergency or safety issue, I agree to cut the strap and remove the bracelet then contact my agent.
       __________

                                                  Health and Safety information is available at www.scramsafety.com.

        Initial Here          Occupation and Work Hours:
                              I understand that I am to provide my agent with my current employment, occupation, and work hours, and to
                              also inform them of any changes to this information.
       __________

        Initial Here          Personal Hygiene:
                              To reduce the likelihood of side effects, I agree to clean around and underneath the bracelet each day as part of
                              a shower using mild soap and water, to rinse thoroughly and dry, and to inspect the area for skin redness, sores,
       __________             or bruising.

        Initial Here          Monitoring Technology:
                              Collection and Use of Information and Purpose: The SCRAM GPS Bracelet contains technology that
                              records the wearer’s geographical location at all times and detects device tampering. The purpose of the
       __________             collection and use of information obtained from the device is to determine if the wearer of the device is
                              complying with the conditions of his/her release and/or if the wearer of the device has tampered with the device
                              in an attempt to interfere with the devices’ ability to record the wearer’s geographical location. Identification
                              information you provide will be used by SCRAM Systems, its subsidiaries, contracting agencies, and providers
                              for the purpose of determining your compliance or non-compliance with court-ordered electronic monitoring.
                              SCRAM Systems will not use or disclose your personal identification information for any other purpose without
                              your consent.

        Initial Here          Retention and Destruction of Personal Identification Information:
                              SCRAM Systems will retain all personal identification information obtained from you in a manner consistent with
                              federal and state laws. SCRAM Systems will destroy your personal identification information when it is no longer
       __________             required to (a) document your compliance with the terms of your court-ordered geographical location monitoring
                              or (b) document SCRAM Systems’ performance of such monitoring in furtherance of its legal obligations or to
                              resolve disputes, whichever is longer, or unless another retention timeframe is required by law.

        Initial Here          Consent to the Collection and Use of Personal Identification Information:
                              I understand that SCRAM Systems will collect and use my personal identification information during the period in
                              which I am monitored by the SCRAM GPS Bracelet for the purpose stated above, and I hereby consent to the
       __________             collection and use of this information by SCRAM Systems.


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         Initial Here          Consent to Retention and Destruction:
                               I understand that SCRAM Systems will retain and destroy my personal identification information as stated above
                               and I hereby consent to this retention and destruction and waive any rights I may have to request destruction of
        __________             my personal identification information during this timeframe.


                               SCRAM Systems Privacy Policy: https://www.scramsystems.com/privacy-policy/




 I acknowledge that I have received a copy of this Agreement and that it has been explained to me before signing. I understand that I must
 comply with the requirements of this Agreement until notified otherwise by my probation officer or pre-trial services agent. I agree to call my
 officer or agent immediately if I have any questions about this Agreement or if I experience any problems with the SCRAM GPS Bracelet.

 I understand that any violation of these conditions is a violation of my conditions of release or sentencing which could cause my
 bond or probationary sentence to be revoked and I could be arrested. I also understand that I should consult my attorney if I have any
 additional questions regarding my conditions of release or sentencing.


 ___________________________________                                                                 ___________________________________
 Participant                                                                                         Date


 ___________________________________              ____________________________________               ___________________________________
 Field Representative/Witness                     Title                                              Date




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HEALTH AND SAFETY NOTICE FOR SCRAM SYSTEMS PRODUCTS

 MEDICAL WARNINGS                                                        GENERAL SAFETY INSTRUCTIONS

 •   Certain medical conditions may prevent wearing of a SCRAM           •      Do not use SCRAM products in environments where
     bracelet. If you have experienced or been diagnosed with                   explosive vapors may exist.
     any of the following conditions, you should consult a doctor        •      Follow your employer’s rules to avoid any hazards of
     before attempting to wear a SCRAM CAM, HA, or GPS                          wearing SCRAM bracelets when working around
     bracelet.                                                                  machinery or ladders.
         o    Circulation problems                                       •      Immediately cut the strap and remove the bracelet if you
         o    Neuropathy                                                        suspect its battery has leaked. Wash affected area and
         o    Deep Vein Thrombosis                                              clothing. Then contact your supervising authority.
         o    Leg ulcers
         o    Tendonitis                                                 •      Do not submerge the bracelet under water.
         o    Diabetes
                                                                         PERSONAL HYGIENE
         o    Pregnancy
         o    History of Swelling                                        •      Clean around and underneath the SCRAM bracelet each
         o    Nickel or other metal allergies                                   day as a part of a shower. Use mild soap, rinse thoroughly,
 •   Some side effects may occur when beginning to wear a                       and dry. Inspect the area for skin redness, sores, or
     bracelet even if you have not experienced any of the                       bruising. Do not submerge the bracelet under water.
     conditions above. If you experience any of the following            •      Breath tubes for SCRAM Remote Breath come sealed in
     conditions, you should immediately contact your supervising                sanitary packages. Do not use a breath tube if not
     authority for further instructions and seek medical attention if           received in a sanitary package. Clean breath tubes
     needed.                                                                    periodically with soap and water or in a dishwasher.
         o    Sores                                                             Obtain new tubes as needed from your supervising
         o    Open wounds                                                       authority.
         o    Bruising
                                                                         PRECAUTIONS AND INSTRUCTIONS FOR INSTALLERS
         o    Severe irritation or redness
                                                                         •      Wear gloves and a facemask when installing bracelets or
 MEDICAL EMERGENCIES                                                            when handling bracelets that have not been cleaned and
 •   Immediately cut the strap and remove the bracelet if a                     disinfected. This will minimize the risk of contracting
     medical emergency or safety issue occurs. Then contact                     communicable diseases.
     your supervising authority.                                         •      Do not install SCRAM bracelets too tightly. The wearer
                                                                                should easily be able to insert their fingers between the
 COMPATIBILITY WITH MEDICAL DEVICES                                             bracelet and skin in to clean underneath.
 •   SCRAM products may not be compatible with medical                   •      Properly clean and disinfect all SCRAM bracelets before
     devices such as pacemakers or other implanted medical                      installation using instructions provided on the SCRAMNET
     devices. Consult with your medical device installer before                 Help page.
     using a SCRAM product. Technical specifications are                 •      Replace CAM and HA batteries as recommended by
     available upon request.                                                    SCRAMNET or SCRAM Systems customer service.
 •   MRI machines and other medical machines produce                            Always use 3V lithium CR2 batteries in SCRAM CAM or
     magnetic fields that may not be compatible with SCRAM                      HA.
     products. SCRAM data may become corrupted or lost.                  •      Do not reuse or attempt to recharge SCRAM CAM or HA
     Always inform the machine operators of your SCRAM                          batteries.
     bracelet.
                                                                         •      Replace SCRAM Base Station and RB batteries when they
 •   Medical alert systems may not function or call for help when a             can no longer hold a charge. Always use replacement
     SCRAM Base Station is used. Consult your medical alert                     batteries provided by SCRAM systems.
     system provider to determine if the SCRAM Base Station will
                                                                         •      Do not attempt to replace a SCRAM GPS bracelet battery.
     affect it. Technical specifications are available upon request.




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